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 6                                   UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF WASHINGTON
 7                                            AT SEATTLE
 8   JORDAN EL-TAHEL, together with her               Case No.:
 9
     marital community,
                           ¯   .
                                                  )   COMPLAINT
10                     Plaintiff,

11           vs.
12   WHATCOM COUNTY, a government
     entity, WHATCOM COUNTY SHERIFF'S
13   DEPARTMENT, BILL ELFO, and ADAM
     MILLER, and marital community.                   DEMAND FOR JURY TRIAL
14


15                     Defend ants.
16

17
                                             JURISDICTION
18
        1.     This Court has jurisdiction under 28 U.S.C. 1331. Federal question jurisdiction
19             arises pursuant to 42 U.S.C. 1983.
20
                                                VENUE
21
        2.    Venue is proper pursuant to 28 U.S.C. 1391. All events or omissions giving rise
22            to these claims occurred in the Western District of Washington.
23
                                               PARTIES
24
        3.     Plaintiff Jordan El -Tahel is an individual previously residing in Whatcom
25             County, Washington during all times relevant to this complaint.
26
        4.     Defendant Adam Miller was employed as a corrections deputy at Whatcom
27             County Sheriff's Office during all times relevant to this complaint.

28      5.     Defendant Whatcom County is a government entity in the State of Washington



     COMPLAINT 1   -

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 1      6.    Defendant Bill Elfo is the elected Sheriff for Whatcom County and oversees
 2
              Whatcom County Jail staff.

 3                                                 FACTS
 4
        7. A Whatcom County Corrections Deputy Adam Miller was hired and employed by
 5
           Whatcom County Sherriff's Office.

 6      8. Defendant Miller during the course of his employment made sexual advances
           towards Plaintiff Jordan El -Tahel while she was under Whatcom County's care,
 7
           custody, and control.
 8

 9
        9. Whatcom County had a duty to protect Plaintiff while she was in its custody.

10
        10.After her release from custody Defendant Miller stalked and sought out Plaintiff
11         a friend's house where he appeared unannounced attempting to initiate
             additional sexual advances.
12

13
        11. Plaintiff returned to custody during the Fall of 2018 under the control of Deputy
14          Miller.

15
        12. Miller had complete control over Plaintiff's every movement, monitoring her by
16          camera then calling to tell her he was watching.
17
        13. Defendant Miller utilized other deputies to get Plaintiff for him in order to create
18
            the appearance that none of the deputies were safe for her and all of them were
19          involved and had Miller's back.

20
        14.After Whatcom County Jail was notified of improper conduct by Miller the first
21         time, it failed to conduct a proper investigation and Plaintiff remained under the
22
           control of Miller.

23
        15. Miller was taken to areas off camera and sexually assaulted.
24

25      16. Miller used the attorney line to place unrecorded phone calls into Plaintiff's cell
            block to ensure that Plaintiff knew he was watching her.
26

27      17.After initial reports of the improper conduct were made, Miller made threats to
           place Plaintiff in isolation.
28




     COMPLAINT -2                                                     Butler Beschen Law PLLC
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 1      18. Per Whatcom County Policy the Whatcom County Sherriff is responsible for
 2
            ensuring investigations into sexual misconduct.

 3
        19. Defendant's breached their duty to conduct an investigation into sexual
 4            misconduct.
 5
        20. Defendant's breached their duty to keep Plaintiff safe from sexual misconduct.
 6

 7
        21. Defendant's breached their duty to properly train and supervise Miller.
 8

 9
        22. Defendant Miller breached his duty by sexually assaulting then then retaliating
            against the Plaintiff.
10
                                                    CLAIM I
11
                                            (Negligent Investigation)
12
        23.    Plaintiff restates and re-alleges the allegations set forth in paragraphs 1-15
13             above as if fully set forth herein.
14
        24.    By doing the acts described above, Defendants Whatcom County and Sherriff
15             Bill Elfo were negligent in their duty to keep Plaintiff safe by failing to conduct a
               thorough investigation when concerns of improper conduct by Defendant Miller
16             were first raised.
17
                                                    CLAIM II
18                            (Violation of Civil Rights: Excessive Punishment)

19      25.    Plaintiff restates and re -alleges the allegations set forth in paragraphs 1-15
               above as if fully set forth herein.
20

21      26.    By doing the acts described above, Defendants caused and/or permitted the
               violation of Plaintiff's right against excessive punishment guaranteed by the
22             Eight Amendment, thereby entitling Plaintiff to recover damages pursuant to 42
23
               U.S.C. 1983.

24
                                                   CLAIM III
25
                              (Assault in the 4th degree with Sexual Motivation)
26
        27.    Plaintiff restates and re -alleges the allegations set forth in paragraphs 1-15
27             above as if fully set forth herein.
28
        28.    By doing the acts above, Defendants caused Plaintiff to be victims of assault in
               the fourth degree with sexual motivation.


     COMPLAINT   -
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                                                  CLAIM IV
 3                                           (Sexual Misconduct)
 4
        29. Plaintiff restates and re -alleges the allegations set forth in paragraphs 1-15
 5
            above as if fully set forth herein.

 6      30.   By doing the acts described above, Defendants caused Plaintiff to be victim of
              sexual misconduct.
 7


 8
                                                    CLAIM V
                           (Intentional Infliction of Emotional Distress Outrage)
                                                                            -




 9
        31.   Plaintiff restates and re -alleges the allegations set forth in paragraphs 1-15
10
              above as if fully set forth herein.
11
        32.   By doing the acts described above, Defendant committed extreme and
12            outrageous conduct, which was done intentionally or with reckless disregard as
              to the consequences, and caused Plaintiff severe emotional distress, and
13
              actual damages.
14
                                                   CLAIM VII
15                                        (Invasion of Right to Privacy)
16
        33.   Plaintiff restates and re -alleges the allegations set forth in paragraphs 1-15
17            above as if fully set forth herein.

18      34.   By doing the acts above, Defendants acted in ways that would be objectionable
              to a reasonable person by monitoring her with the jail security cameras for
19
              Miller's own prurient interests.
20
                                                   CLAIM VIII
21                                             (Negligent Training)
22
        35. Plaintiff restates and re-alleges the allegations set forth in paragraphs 1-15
23          above as if fully set forth herein.
        36. By doing the acts above, Defendants failed to provide proper training and/or
24
            protocols on handling concerns of sexual misconduct which resulted in
25
            damages to Plaintiff.

26                                                  CLAIM IX
                                             (Negligent Supervision)
27

28      37.   Plaintiff restates and re -alleges the allegations set forth in paragraphs 1-15
              above as if fully set forth herein.



     COMPLAINT -4                                                        Butler Beschen Law PLLC
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 2
        38. By doing the acts above, Defendants failed to supervise Miller which resulted in
            multiple policy violations and damages to Plaintiff.
 3

 4
                                           REQUEST FOR RELIEF
 5
               WHEREFORE, Plaintiff requests this Court enter an order granting him the
 6             following relief:
 7
               a. For general damages in an amount to be proven at trial;
 8
                b. Lost earnings and lost future earnings;
 9
               c. Emotional distress damages;
10

11             d. Punitive damages under42 U.S.C. sec. 1988;

12             e. Prejudgment interest;
13
               f.   For attorney's fees;
14
               g. For costs of the suit incurred herein;
15

               h. For such other and further relief, at law or in equity, to which Plaintiff may
16
                  be justly entitled.
17


18                                   DEMAND FOR JURY TRIAL
19
     Plaintiff hereby requests a jury trial on all issues raised in this complaint.
20
     DATED this 21st day of December, 2020.
21

22
     Is/Emily C. Beschen
23   Emily C. Beschen, WSBA#43813                       Robert'D. -Bi11&, WSBA#22475
     Attorney for Plaintiff                             Attorney for Plaintiff
24

25


26

27

28




     COMPLAINT -5                                                       Butler Beschen Law PLLC
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                                                                           Bellingham, WA 98225
